Case 18-06107-LA13_ Filed 10/11/18 Entered 10/11/18 20:58:42 Doc1 Pg.1of52

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:
SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

Case number (if known) Chapter you are filing under:
C] Chapter 7
C1 Chapter 11
C1 Chapter 12

B Chapter 13 1 Check if this an amended
filing

 

 

 

Official Form 101
- Voluntary Petition for Individuals Filing for Bankruptcy 42/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish

between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more

space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

    
    
 

Identify Yourself

Your full name

Write the name that is on Patrick

 

 

 

 

your government-issued First name First name

picture identification (for

example, your driver's

license or passport). Middle name : Middle name

Bring your picture O'Leary

identification to your meetin

with the trustee. y S Last name and Suffix (Sr., Jr., Ii, It) Last name and Suffix (Sr., Jr., Il, IID

 

2. All other names you have
used in the last 8 years

Include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal
Individual Taxpayer
Identification number
(ITIN)

XXX-XX-B954

 
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Debtor1 O'Leary, Patrick Case number (if known)

 
 

About:Debtor 2 (Spouse

 

4. Any business names and
Employer Identification

Numbers (EIN) you have (Ml | have not used any business name or EINs. C1 | have not used any business name or EINs.
used in the last 8 years

 

 

 

 

 

 

 

 

 

 

 

 

Include trade names and Business name(s) Business name(s)

doing business as names
EINs EINs

5. Where you live If Debtor 2 lives at a different address:
14315 Olde Hwy
#80
Et Cajon, CA 92021
Number, Street, City, State & ZIP Code Number, Street, City, State & ZIP Code
San Diego_
County County
If your mailing address is different from the one If Debtor 2's mailing address is different from yours, fill it it
above, fill it in here. Note that the court will send any here. Note that the court will send any notices to this mailing
notices to you at this mailing address. address.
Number, P.O. Box, Street, City, State & ZIP Code : Number, P.O. Box, Street, City, State & ZIP Code
6. Why you are choosing Check one:
this district to file for Check one:
bankruptcy M Over the last 180 days before filing this petition, | a
have lived in this district longer than in any other CC] Over the last 180 days before filing this petition, | have
district. lived in this district longer than in any other district.

C_sthave another reason. 0 {have another reason.

Explain. (See 28 U.S.C. § 1408.) Explain. (See 28 U.S.C. § 1408.)

 

 
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Debtor1 O'Leary, Patrick

Case number (if known)

Tell the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
Bankruptcy Code you are 2070)). Aiso, go to the top of page 1 and check the appropriate box.
choosing to file under C1 Chapter 7

C1 Chapter 11

Chapter 12

M@ Chapter 13

8. Howyouwill pay thefee jg [will pay the entire fee when | file my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money ordet
If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
pre-printed address.

CO __sIneed to pay the fee in installments. If you choose this option, sign and attach the Application for individuals to Pay The
Filing Fee in installments (Official Form 103A).

C__s+iI request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but i
not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

9. Have you filed for HNo
bankruptcy within the last ‘
8 years? O Yes.
District SDCA When Case number
District SDCA When Case number _18-00301-13
District When Case number
10. Are any bankruptcy cases [i yo
pending or being filed by
a spouse who is not filing (1 Yes.
this case with you, or by
a business partner, or by
an affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your HNo Go to line 12.
residence? ,

CI Yes.

Has your landlord obtained an eviction judgment against you?

O
oO

No. Go to line 12.

Yes. Fill out Initia! Statement About an Eviction Judgment Against You (Form 101A) and file it as part of this
bankruptcy petition.

 
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Debtor1 O'Leary, Patrick

Case number (if known)

Gene Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership,
or LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

HE No. Go to Part 4.

CO yYes. Name and location of business

 

Name of business, if any

 

Number, Street, City, State & ZIP Code

Check the appropriate box fo describe your business:

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

ooaod

 

13. Are you filing under
Chapter 11 of the
Bankruptcy Code and are
you a small business
debtor?

For a definition of small
business debtor, see 11
U.S.C. § 101(51D).

if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
deadlines. if you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
U.S.C. 1116(1)(B).

BNo. | am not filing under Chapter 11.

C1 No. {am filing under Chapter 11, but | am NOT a smail business debtor according to the definition in the Bankruptcy
Code.

O yes. | am filing under Chapter 11 and | am a smail business debtor according to the definition in the Bankruptcy Code.

 

Parts: Pe if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

14. Do you own or have any
property that poses or is

No.

alleged to pose a threat of 1 Yes.

imminent and identifiable
hazard to public health or
safety? Or do you own
any property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?

What is the hazard?

 

\f immediate attention is
needed, why is it needed?

 

Where is the property?

 

Number, Street, City, State & Zip Code

 
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Debtor1 O'Leary, Patrick

Case number (if known)

 

Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before you
file for bankruptcy. You
must truthfully check one of
the following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection
activities again.

About Debtor 1:
You must check one:

| received a briefing from an approved credit ~O
counseling agency within the 180 days before |

filed this bankruptcy petition, and | received a

certificate of completion.

Attach a copy of the certificate and the payment plan,
if any, that you developed with the agency.

| received a briefing from an approved credit O
counseling agency within the 180 days before |

filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

| certify that | asked for credit counseling oO
services from an approved agency, but was

unable to obtain those services during the 7

days after | made my request, and exigent

circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining what
efforts you made to obtain the briefing, why you were
unable to obtain it before you filed for bankruptcy, and
what exigent circumstances required you to file this
case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved agency,
along with a copy of the payment plan you developed,
if any. If you do not do so, your case may be
dismissed.

Any extension of the 30-day deadline is granted only

for cause and is limited to a maximum of 15 days.

lam not required to receive a briefing about oO
credit counseling because of:

0 __siIncapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or making
rational decisions about finances.

0 __sODisability.
My physical disability causes me to be unable
to participate in a briefing in person, by phone,
or through the internet, even after | reasonably
tried to do so.

(J = Active duty.
| am currently on active military duty in a
military combat zone.

|f you believe you are not required to receive a briefing
about credit counseling, you must file a motion for
waiver credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):
- You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if any
that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if any

| certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after ! made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made tc
obtain the briefing, why you were unable to obtain it before
you filed for bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is dissatisfied with
your reasons for not receiving a briefing before you filed for
bankruptcy.

If the court is satisfied with your reasons, you must stil]
receive a briefing within 30 days after you file. You must file
a certificate from the approved agency, along with a copy of
the payment plan you developed, if any. If you do not do so,
your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

| am not required to receive a briefing about credit
counseling because of:

O_siIncapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

O1_sODisability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or throug
the internet, even after | reasonably tried to do so.

OO Active duty.
1 am currently on active military duty in a military
combat zone.

If you believe you are not required to receive a briefing abot
credit counseling, you must file a motion for waiver of credi
counseling with the court.
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Debtor! O'Leary, Patrick

  

Case number af krawn}

Ge Answer These Questions for Reporting Purposes

 

418. What kind of debts do
you have?

18a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “Incurred by an
individual primarily for a personal, family, or household purpose.”

CI No. Ge to line 16b.
Mi Yes. Go to line 17.

46b. Are your debts primarily business debis? Business debts are debts that you incurred to obtain money
for a business or investment or through the operation of the business or investment.

(I No. Go to line 16c.
C] Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts

 

 

47. Are you filing under
Chapter 7?

Do you estimate that after
ahy exempt property is

Mino. [am not filing under Chapier 7. Go to line 18.

Clyes, 1am filing under Chapter 7. Do you estimate that after any exernpt property is excluded and administrative expenses ai
paid that funds will be available to distribute to unsecured creditors?

 

excluded and

administrative expenses CI No
are paid that funds will be
available for distribution (Yes

to unsecured creditors?

 

18. How many Creditorsdo yay

ou estimate that you
ie? y CI so-9e

CI 100-199
LL] 200-999

[) 1,000-5,000
[1 5001-16,006
(1 10,001-25,000

(1 28,001-50,000
("1 50,001-100,000
L] More than100,000

 

19. How much do you (J $0 - $50,006
estimate your assets to Cl $50,001 - $100,000

be worth? CJ $100,001 - $500,000
#2 $500,001 - $1 million

(CJ $7,000,004 - $10 million

(1 $10,000,001 - $50 million
[J $50,000,001 - $100 million
1 $100,000,001 - $500 million

CJ $500,000,001 - $1 billion

[1] $4,000,000,001 - $10 billion
[7] $10,060,000,001 - $56 billion
CI More than $50 billion

 

20. How much do you (2.80 - $50,000

estimate your Habilities to 7) g55 907 - $400,000
be? , :

Hl $100,001 - $500,000
[1] $500,001 - $1 million

(151,000,001 - $10 million

(7) $10,000,001 - $50 million
7] $50,000,001 - $106-miltion
[1 $100,000,001 - $500 million

[J $500,000,001 - $1 billion

1] $1,000,000,001 - $10 billion
C1] $10,000,000,001 - $50 billion
CJ More than $50 billion

 

| Sign Below

 

 

For you | have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

if | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, Ur
States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

If no atiorney represents me and | did not pay or agree to pay someone who is not an attorney io help me fill out this document, |
have obtained and read the notice required by 11 U.S.C. § 342(b).

{ request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making ‘a false statement, concealing property, or obtaining money or property by fraud in connection with a bankrur

case can result in fines up to

is] Patrick O'Lea

Patrick O'Leary
Signature of Debtor 1

 

Execuledon October 9, 2018
MM /DODIYYYY

 

    

$250 900 or imprisonment for up to 20 years, or bath. 18 U.S.C. §§ 152, 1344, 1519, and 3571.
-

 

Executed on

Signature of Deblor 2

 

MM /DDIYYYY

 

Official Farm 104

Voluntary Petition for Individuais Filina for Bankruptcy

oaae 6
Case 18-06107-LA13_ Filed 10/11/18 Entered 10/11/18 20:58:42 Doci1 Pg. 7 of 52

Debtor1 O'Leary, Patrick

Case number (if known)

 

For your attorney, if you are
represented by one

If you are not represented by
an attorney, you do not need
to file this page.

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed under
Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
person is eligible. | also certify that | have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in

which § 707(b)(4)(D) applies, certify that | have no knowledge after an inquiry that the information in the schedules filed with the

petition is incorrect.

is! Allan Cate Date

 

Signature of Attorney for Debtor

Allan Cate

Printed name

Allan Cate

Firm name

888 Prospect St Ste 200

La Jolla, CA 92037-4261
Number, Street, City, State & ZIP Code

Contact phone

Allan Cate

Bar number & State

Email address

 

October 9, 2018

 

MM /DD/YYYY

allan@acatelaw.com

 

 
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Fill in this information to identify your case:

Debtor 1 Patrick O'Leary

First Name Middle Name Last Name

 

Debtor 2
(Spouse ff, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 

Case number
(if known) (1 Check if this is an
amended filing

 

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

(EERE Summarize Your Assets

 

1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule AUB... ccc ceceeeceee css teeseeseeneenenennenteeeeneeneateiaatenrceeecteeeanest ats $ 850,000.00
1b. Copy line 62, Total personal property, from Schedule AUB... cececeeenneeceneeeetnetenneceneenneessaeetanrces $ 10,531.00
4c. Copy line 63, Total of all property on Schedule A/B........... eee cee eerste eee nes snes neatencenenennttttanttertecccese sees $ 860,531.00

GE Summarize Your Liabilities

 

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

2a. Copy the total you listed in Column AAmount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 423,568.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge dichedule EMF... eee: $ 5,928.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j ichedule E/F...........ecceeeeen $ 14,137.00
Your total liabilities | $ 443,633.00

 

 

 

Summarize Your Income and Expenses

4. Schedule I: Your Income(Official Form 1061)
Copy your combined monthly income from line 12 OBChECUIEC I... eee eee etree terre ttreeertneeenenaneneeeneneaenegs $ 6,000.00

5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c¢ Of SCHEGUIC Ju... cscs eee tenetetenersenenetteeriasatesesnieeseneneess $ 3,755.00

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
[1 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

@ Yes
7. What kind of debt do you have?

mw Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C§ 159.

C) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
court with your other schedules.

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Debtor1 O'Leary, Patrick Case number (if known)

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form

122A-1 Line 11;OR, Form 122B Line 11;OR, Form 122C-1 Line 14.

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

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$ 8,000.00

 

 

 

 

 

 

 

9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 5,928.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) $ 0.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as 0.00
priority claims. (Copy line 69.) $ .
9f, Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +3 0.00
Qg. Total. Add lines 9a through 9f. $ 5,928.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

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page 2 of 2
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Fill in this information to identify your case and this filing:

Debtor 1 Patrick O'Leary

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the. SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 

Case number [Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

 

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

C1 No. Go to Part 2.
Wl yes. Where is the property?

 

 

 

1.1 What is the property? Check all that apply
14315 Olde Hwy # 80 HE Single-family home Do ‘not deduct secured claims or exemptions. Put
e Hwy ~ the amount of any secured claims on Schedule D:
Duplex or multi-unit buildin ‘ :
Street address, if available, or other description Oo p , s Creditors Who Have Claims Secured by Property.
Oo Condominium or cooperative
(1 Manufactured or mobile home
. Current value of the Current value of the
El Cajon CA 92021 CO Land entire property? portion you own?
City State ZIP Code (1 investment property $850,000.00 $850,000.00
i hi:
C] Timeshare Describe the nature of your ownership interest
0 other

CCS as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.

Debtor 4 only

 

San Diego County

County

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another
Other information you wish to add about this item, such as local
property identification number:

14315 Olde Hwy # 80
El Cajon, CA 92021

 

oO Check if this is community property
(see instructions)

Oooo

 

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here => $850,000.00

GEREN Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

 

 

Official Form 106A/B Schedule A/B: Property page 1
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Debtor 1 O'Leary, Patrick Case number (if known)

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

 

 

0 No
yes
. . Do not deduct secured claims or exemptions: Put
. 2
3.1 Make: Ford Who has an interest in the property? Check one the amount of any secured claims on Schedule:D:
Mode: Explorer Sport Trac Wl bebtor 4 only Creditors Who Have Claims Secured by Property.
Year: 2005 [1 Debtor 2 only Current value of the Current value of the
Approximate mileage: 150000 C1 Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: C1 At least one of the debtors and another
CO Check if this is community property $3,354.00 $3,354.00
(see instructions)
. Cc . . 2 Do not deduct secured claims or exemptions. Put
3.2 Make: cue Who has an interest in the property? Check one the amount of-any. secured. claims on Schedule D:
Mode: Jimmy Wl Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2000 C1 Debtor 2 only Current value of the Current value of the
Approximate mileage: 150000 CZ Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: C1 At teast one of the debtors and another

 

OO Check if this is community property $1,687.00 $1,687.00

(see instructions)

 

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

HNo
CO Yes

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here => $5,041.00

 

 

 

Describe Your Personal and Household Items
Do you own or- have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct. secured
claims or exemptions.

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

[CI No
WI Yes. Describe.....

 

Household Goods and Furnishings
No Single Item Exceeds $675 In Value $3,000.00

 

 

 

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games

MNo
[1 Yes. Describe.....

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
collections, memorabilia, collectibles
MNo

C1 Yes. Describe.....

Official Form 106A/B Schedule A/B: Property page 2
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Debtor 1 O'Leary, Patrick Case number (if known)

 

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
instruments

HNno
CJ Yes. Describe.....

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

MNo
[] Yes. Describe...
11. Clothes

Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
ONo

M Yes. Describe.....

 

| Shoes and Clothes $750.00

 

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

BNo
[1 Yes. Describe.....

13. Non-farm animals
Examples: Dogs, cats, birds, horses

HNo
(J Yes. Describe.....

14. Any other personal and househoid items you did not already list, including any health aids you did not list
HI No
[J Yes. Give specific information.....

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
Part 3. Write that number here $3,750.00

 

 

 

Describe Your Financial Assets

Do you own.cr have any legal or equitable interest in any of the following? Current value of the
portion you.own?
Do not deduct secured
claims or exemptions.

 

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
CONo
MS ooo cece ccceeccessuesssesssssssecsuesssessussssscsuescsuscssscsuscssesessecsnecsuecssecssessaecesseesseeese

Cash $40.00

 

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.

 

 

 

 

C1 No
(en Institution name:
17.1. Checking Account Navy Federal CU $1,500.00
17.2. Checking Account Chase $200.00
Official Form 106A/B Schedule A/B: Property page 3

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Debtor 1 O'Leary, Patrick Case number (if known)

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

HNo

YS... ccececceee Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

HNo

(1 Yes. Give specific information about them..................-
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

HNo
CJ Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

C1 No

@ Yes. List each account separately.
Type of account: Institution name:
Pension Plan Water FX unknown

 

 

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

MNo

DA Ye.. vee institution name or individual:

23, Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
MNo
C1 Yes... Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

Bi No
D1 Yes... cee. Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
HNo

O Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

MNo
C1 Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

No

1 Yes. Give specific information about them...

Nioney or property: owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you

MNo
CI Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

Official Form 106A/B Schedule A/B: Property page 4
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Debtor1 O'Leary, Patrick Case number (if known)

 

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

No
C Yes. Give specific information......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security benefits;
unpaid loans you made to someone else

MNo
1 Yes. Give specific information..

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

HNo

1 Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
died.

HNo
(Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

BNo
C] Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims

HNo
C1 Yes. Describe each claim.........

35. Any financial assets you did not already list
MNo
C1 Yes. Give specific information...

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
Part 4. Write that number here $1,740.00

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
WW No. Go to Part 6.

D1 Yes. Go to tine 38.

icieesae Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an interest In.
If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
HB No. Go to Part 7.

D1 Yes. Go to line 47.

Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

HNo
C1 Yes. Give specific information.........

Official Form 106A/B Schedule A/B: Property page 5
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Debtor 1 O'Leary, Patrick Case number (if known)

54. Add the dollar value of all of your entries from Part 7. Write that number here .......cseeeeeseeeeeeeeees $0.00
List the Totals of Each Part of this Form

55. Part 1: Total real estate, lime 2 .......cscssssssseceneeccesescnsseeseensseestsnsscsnssassnsauecsausssseeeeseeaeeneonsasorsaesntsnssessenseaeeseaeees $850,000.00
56. Part 2: Total vehicles, line 5 $5,041.00

57. Part 3: Total personal and household items, line 15 $3,750.00

58. Part 4: Total financial assets, line 36 $1,740.00

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $10,531.00 Copy personal property total $10,531.00
63. Total of all property on Schedule A/B. Add line 55 + line 62 $860,531.00
Official Form 106A/B Schedule A/B: Property page 6

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Fill in this information to identify your case:

Debtor 1 Patrick O'Leary

First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 

Case number
(if known) 1 Check if this is an
amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 416

 

Be as complete and accurate as possible. If two married peopie are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

Identify the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
HH You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C1 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

Brief description of the property and line on Current value ofthe Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own =
: _ Copy the value from Check only one box for each exemption.

Schedule A/B

850,000.00 100,000.00 CCCP § 704.730(a)(2)

14315 Olde Hwy # 80 $850, 7 $100,
EI Cajon CA, 92021 1 100% of fair market value, up to
County : San Diego County any applicable statutory limit

Line from Schedule A/B: 1.1

 

 

 

 

 

Ford CCCP § 704.010
Explorer Sport Trac $3,354.00 il $3,050.00

2005 OC 100% of fair market value, up to

150000 any applicable statutory limit

Line from Schedule A/B: 3.1

Household Goods and Furnishings 3 CCCP § 704.020
No Single Item Exceeds $675 In $3,000.00 $3,000.00

Value [100% of fair market value, up to

Line from Schedule A/B: 6.1 any applicable statutory limit

Line from Schedule A/B: 11.1

 

CO 100% of fair market value, up to
any applicable statutory limit

 

Official Form 106C Schedule C: The Property You Ciaim as Exempt page 1 of 2
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3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

H No

1 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
OO No
[C] Yes

Official Form 106C Schedule C: The Property You Claim as Exempt

page 2 of 2
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Fill in this information to identify your case:

Debtor 1 Patrick O'Leary

First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 

Case number
(if known) (1 Check if this is an
amended filing

 

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).

1. Do any creditors have claims secured by your property?
(No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

IB Yes. Fill in all of the information below.
Geena List All Secured Claims

 

 

 

 

 

 

 

 

 

 

2; List.all secured: clairis-|f a creditor has more than:one secured claim, list the creditor separately Column A Column B Column ©
for’éach-claim,: If more than-one creditor has a particular claim, list the.other creditors:in Part 2. As Amount of claim Value of collateral Unsecured
much.as possible; list the claims in alphabetical order according to the creditor's name. Do not deduct the that supports this portion
value of collateral. claim If any.
2.1 | Planet Home Lending, L Describe the property that secures the claim: $423,568.00 $850,000.00 $0.00
Creditor's Name 14315 Olde Hwy # 80, El Cajon, CA
92021
14315 Olde Hwy # 80 El Cajon, CA
92021
ao Research Pkwy Ste As of the date you file, the claim is: Check ail that
apply.
Meriden, CT 06450-8301 O1 Contingent
Number, Street, City, State & Zip Code oO Unliquidated
| Disputed
Who owes the debt? Check one. Nature of lien. Check alli that apply.
WB pebtor 1 only 11 An agreement you made (such as mortgage or secured
CO) Debtor 2 only car loan)
C1 Debtor 1 and Debtor 2 only | Statutory lien (such as tax lien, mechanic's lien)
C1 At least one of the debtors and another oO Judgment lien from a lawsuit
U check if this claim relates to a Oi other (including a right to offset)
community debt
Date debt was incurred 2005-07 Last 4 digits of account number 2788
Add the doliar value-of your entries. in Column A on this page. Write that number here: $423,568.00
If this is the last page of your form, add the dollar value totals from all pages.
Write that number here: $423,568.00

 

 

 

List Others to Be Notified for a Debt That You Already Listed

Use this page only if you: have others to be notified about your bankruptcy for a. debt that you already listed in Part 1. For example, if a collection agency. is
trying to. collect. from you for.a debt you owe.to someone. else, list the créditor.in Part 1, and then list the collection agency here. Similarly, if you have.more
than one creditor for any-of the debts that you listed. in Part 1, list the additional creditors. here. If you. do.not have additional persons to be notified for any
debts in. Part 1, do not filkout or submit this page.

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1
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Fill in this information to identify your case:

Debtor 1 Patrick O'Leary

First Name

 

Middle Name Last Name

Debtor 2
(Spouse if, filing}

 

First Name Middle Name Last Name

SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

United States Bankruptcy Court for the:

 

Case number
{if known)

 

OD Check if this is an
amended filing

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. if more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach

the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).

Part 1:
1.

List All of Your PRIORITY Unsecured Claims

 

Do any creditors have priority unsecured claims against you?

CI No. Go to Part 2.
ves.

List all of your priority unsecured:claims. If a creditor has more than one priority.unsecured claim, list the créditor separately for each claim. For each claim listed:
identify. what type of claim itis. Ifa claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts; As muchas
possible, list the claims in. alphabetical order according to the creditor ‘s:name.if you have more than two priority unsecured claims, fill out the Continuation Page of Part
1. lf more than.one creditor holds a particular claim, list the other creditors:in:Part’3.

(For an explanation of each type of claim, see the instructions for this form:inthe instruction booklet.)

 

 

 

 

 

 

 

 

 

 

Total claim Priority Nonpriority
amount amount
[21 SAN DIEGO CO Last 4 digits of account number 0118 $4,936.00 $4,936.00 $0.00
_ Priority Creditor's Name
When was the debt incurred?
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. D1 Contingent
WB Debtor 1 only D1 untiquidated
C1 Debtor 2 only oO Disputed
CO Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
0 At least one of the debtors and another C1 Domestic support obligations
C1 check if this claim is for a community debt WM Taxes and certain other debts you owe the government
\s the claim subject to offset? CJ claims for death or personal injury while you were intoxicated
Hino CZ other. Specify
D Yes
2.2 SAN DIEGO CO Last 4 digits of account number 1891 $992.00 $992.00 $0.00
Priority Creditor's Name
When was the debt incurred?
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. D1 Contingent
Ml Debtor 1 only C1 unliquidated
CD Debtor 2 only CZ Disputed
DI Debtor 4 and Debtor 2 only Type of PRIORITY unsecured claim:
D Atieast one of the debtors and another C1 Domestic support obligations
C] Check if this claim is for a community debt a Taxes and certain other debts you owe the government
Is the claim subject to offset? CZ ciaims for death or personal injury while you were intoxicated
Mi No O other. Specify
O Yes
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 6

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Debtor1 O'Leary, Patrick

Case number (f know)

 

List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

C1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Bl ves.

4. List all of your nonpriority unsecured claims in the alphabetical order:of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured claim, list the creditor separately. for each:claim. For each claim listed, identify. what type of claim it is. Do not list claims already included in Part 1. If more
than one creditor holds a particular claim, list the other creditors in Part 3:1f you have more than three nonpriority unsecured claims fill out the Continuation Page of Part

 

 

 

 

 

 

 

 

 

 

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2.
Total claim
4.1 | At T Mobility Last 4 digits of accountnumber 1508 $1,580.00
Nonpriority Creditor's Name
When was the debt incurred? 2017-05
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
W pebior 1 only Oo Contingent
11 Debtor 2 only C1 unliquidated
1 Debtor 1 and Debtor 2 only C1 bisputed
0 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C3 Check if this claim is for a community C1 Student toans
debt C1 obligations arising out of a separation agreement or divorce that you did not
ts the claim subject to offset? report as priority claims
HE No CZ Debts to pension or profit-sharing plans, and other similar debts
CO vYes MH other. Specify Open account
4.2 Cox Communications Last 4 digits of accountnumber 5506 $216.00
Nonpriority Creditor's Name
When was the debt incurred? 2017-08
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WM Debtor 1 only CI Contingent
11 Debtor 2 only Oo Unliquidated
C1 Debtor 1 and Debtor 2 only O Disputed
CO At least one of the debtors and another Type of NONPRIORITY unsecured claim:
DO Check if this claim is for a community C1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HI no C1 Debts to pension or profit-sharing plans, and other similar debts
0 Yes @ other. Specify Open account
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 6
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Debtor1 O'Leary, Patrick Case number (jf know)
Cox Communications Last 4 digits of account number 7507 $170.00
Nonpriority Creditor's Name
When was the debt incurred? 2017-05

Number Street City State Zlp Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
W ebtor 1 only | Contingent
C Debtor 2 only C1 unliquidated
C1 Debtor 1 and Debtor 2 only | Disputed
C1 Atteast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community C1 student loans
debt D Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
| | No D1 Debts to pension or profit-sharing plans, and other similar debts
C1 Yes Ml other. Specify Open account

4.4 Employment Development Dept. Last 4 digits of account number unknown
Nonpriority Creditor's Name

When was the debt incurred?

PO Box 120831
San Diego, CA 92112-0831
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
HI Debtor 1 only U1 Contingent
CI Debtor 2 only 0 unliquidated
CZ Debtor 1 and Debtor 2 only Oo Disputed
C1 Atteast one of the debtors and another Type of NONPRIORITY unsecured claim:
C] Check if this claim is fora. community C] student ioans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HE No C1 Debts to pension or profit-sharing plans, and other similar debts
Yes Wi other. Specify

45 | Franchise Tax Board Last 4 digits of account number $3,471 .00
Nonpriority Creditor’s Name
Bankrupcty Section MS A340 When was the debt incurred?
PO Box 2952
Sacramento, CA 95812-2952
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
HH bebtor 4 only D1 Contingent
CO Debtor 2 only Oo Unliquidated
OO Debtor 1 and Debtor 2 only oO Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 check if this claim is fora community [J] Student loans
debt LC Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino D1 Debts to pension or profit-sharing plans, and other similar debts
0 Yes Wl other. Specify

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 6

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Debtor1 O'Leary, Patrick Case number (f know)
| 46 | Inphynet Contracting Services Last 4 digits of account number unknown
Nonpriority Creditor's Name
When was the debt incurred?
PO Box 1123
Minneapolis, MN 55440-1123
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only Oo Contingent
0 Debtor 2 only 0 unliquidated
1 Debtor 1 and Debtor 2 only | Disputed
(At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 Check if this claim is for a community CI student loans
debt C1 obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino C1 Debts to pension or profit-sharing plans, and other similar debts
I Yes WH other. Specify
[47 | San Diego Gas Electric Last 4 digits ofaccount number 9721 $8,637.00
Nonpriority Creditor's Name
When was the debt incurred? 2017-06

 

Number Street City State Zlp Code
Who incurred the debt? Check one.

MH bebtor 1 only

C1 Debtor 2 only

(J Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

C1 check if this claim is for a community
debt

Is the claim subject to offset?

Hino
0 Yes

 

As of the date you file, the claim is: Check ail that apply

C] Contingent

0 unliquidated

Cl Disputed

Type of NONPRIORITY unsecured ciaim:
CZ Student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

0 Debts to pension or profit-sharing plans, and other similar debts

Ml other. Specify Open account

 

 

Sharp Grossmont Hospital
Nonpriority Creditor's Name

 

Number Street City State Zlp Code
Who incurred the debt? Check one.

Debtor 1 only

D1 Debtor 2 only

CO Debtor 1 and Debtor 2 only

C At least one of the debtors and another

0 Check if this claim is fora community
debt

Is the claim subject to offset?
Bi no
CO Yes

Last 4 digits of account number

7516

When was the debt incurred? 2016-01

$63.00

 

As of the date you file, the claim is: Check all that apply

oO Contingent
CD unliquidated

| Disputed
Type of NONPRIORITY unsecured claim:
CO Student loans

o Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

D Debts to pension or profit-sharing plans, and other similar debts

WI other. Specity Open account

 

 

List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Name and Address

Official Form 106 E/F

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On which entry in Part 1 or Part 2 did you list the original creditor?

Schedule E/F: Creditors Who Have Unsecured Claims

Page 4 of 6
Case 18-06107-LA13

Debtor1 O'Leary, Patrick

Afni, Inc.
PO Box 3097
Bloomington, IL 61702-3097

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Case number (f know)

 

Line 4.1 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims
Wi part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number 1508

 

Name and Address
Convergent Outsourcing
800 SW 39th St

Renton, WA 98057-4975

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.2 of (Check one): CO Part 4: Creditors with Priority Unsecured Claims

WM Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number 5506

 

Name and Address
Convergent Outsourcing
800 SW 39th St

Renton, WA 98057-4975

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.3 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims
Ml Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 7507

 

Name and Address

EDD

PO Box 826218
Sacramento, CA 94230-6218

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.4 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

IB part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address

Progressive Mgmt Syste
1521 W Cameron Ave FI 1
West Covina, CA 91790-2738

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.8 of (Check one): O Part 1: Creditors with Priority Unsecured Claims

Mi Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number 7516

 

Name and Address

Torres Credit Srv

27 Fairview St Ste 301
Carlisle, PA 17015-3200

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.7 of (Check one): O Part 1: Creditors with Priority Unsecured Claims

i Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number 9721

 

Name and Address
Unknown Plaintiff

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 2.1 of (Check one): Wi Part 1: Creditors with Priority Unsecured Claims

O Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 0118

 

Name and Address
Unknown Plaintiff

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 2.2 of (Check one): MB Part 1: Creditors with Priority Unsecured Claims

C1 Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 1891

 

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each

type of unsecured claim.

 

 

 

 

Total Claim
6a. Domestic support obligations 6a. 0.00
Total claims
from Part 1 6b. Taxes and certain other debts you owe the government 6b. 5,928.00
6c. Claims for death or personal injury while you were intoxicated 6c. 0.00
6d. Other. Add all other priority unsecured claims. Write that amount here. 6d. 0.00
6e. Total Priority. Add lines 6a through 6d. 6e. 5,928.00
Total Claim
6f. Student loans 6f. 0.00
Total claims
from Part 2 6g. Obligations arising out of a separation agreement or divorce that
: you did not report as priority claims 6g. 0.00
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. 0.00
6i. Other. Add all other nonpriority unsecured claims. Write that amount 6i.
here. 14,137.00

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Page 5 of 6
Case 18-06107-LA13 Filed 10/11/18 Entered 10/11/18 20:58:42 Doci1 Pg. 24 of 52

 

Debtor1 O'Leary, Patrick Case number (know)
6j. Total Nonpriority. Add lines 6f through 6i. Gj. $
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims

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14,137.00

 

 

Page 6 of 6
Case 18-06107-LA13 Filed 10/11/18 Entered 10/11/18 20:58:42 Doci1 Pg. 25 of 52

Fill in this information to identify your case:

Debtor 1 Patrick O'Leary

First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: © SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 

Case number
(if known) (0 Check if this is an
amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
HB No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
CI Yes. Fill in ail of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Person or company. with whom you have the contract:or:-lease State what the contract or lease is for
Name;-Number, Street, City, State:and ZIP Code

2.1

Name

Number Street

City State ZIP Code
2.2

Name

Number Street

City State ZIP Code
2.3

Name

Number Street

City State ZIP Code
2.4

Name

Number Street

City State ZIP Code
2.5

Name

Number Street

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

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Case 18-06107-LA13 Filed 10/11/18 Entered 10/11/18 20:58:42 Doci1_ Pg. 26 of 52

Fill in this information to identify your case:

Debtor 1 Patrick O'Leary

First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 

Case number
(if known) OO Check if this is an
amended filing

 

 

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

HNo
C Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No. Go to line 3.
1 Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out

 

Column 2.
Column 1: Your codebtor Cofumn 2: The creditor to whom you owe the debt
Name, Number, Street; City, State and’ ZIP Code Check all schedUles that apply:
[3.1] CJ Schedule D, line
Name

CO Schedule E/F, line
(J Schedule G, tine

 

 

 

 

 

Number Street
City State ZIP Code

3.2 CO Schedule D, line
Name (J Schedule E/F, line

CI Schedule G, tine
Number Street
City State ZIP Code
Official Form 106H Schedule H: Your Codebtors Page 1 of 1

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Case 18-06107-LA13 Filed 10/11/18 Entered 10/11/18 20:58:42 Doci1 Pg. 27 of 52

Fill in this information to identif

Debtor 1 Patrick O'Leary

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF CALIFORNIA, SAN
DIEGO DIVISION

Case number Check if this is:
(If known) C] An amended filing

C1 A supplement showing postpetition chapter 13
income as of the following date:

 

 

Official Form 106| wu 7boIWwyy~
Schedule I: Your Income 42145

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fill in your employment

 
 
    

   

  

 

information. fOr ebtor 2 or non-filing sp
If you have more than one job, Empl t stat Hl Employed C1 Employed

attach a separate page with mployment status

information about additional C1 Not employed C1 Not employed
employers. Occupation Super

Include part-time, seasonal, or '

self-employed work. Employer's name Water FX

 

Occupation may include student or Employer's address
homemaker, if it applies. 740 N Valle Verde Dr

Henderson, NV 89014-2304
How long employed there? 5 years
Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

 

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2 § 8,000.00 $ N/A
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +% N/A
4. Calculate gross Income. Add line 2 + line 3. 4. | $ 8,000.00 $ NIA

 

 

 

 

 

Official Form 1061 Schedule 1: Your Income page 1
Case 18-06107-LA13 Filed 10/11/18

Debtor 1

10.

11.

12.

13.

Copy line 4 here_ 4, 8,000.00 §

List all payroll deductions:

5a. Tax, Medicare, and Social Security deductions 5a. §$ 2,000.00 $ N/A
5b. Mandatory contributions for retirement plans 5b.  § 0.00 $ NIA
5c. Voluntary contributions for retirement plans 5c. §$ 0.00 $ N/A
5d. Required repayments of retirement fund loans 5d.  $ 0.00 $ N/A
5e. Insurance Se. $§$ 0.00 $ N/A
5f. Domestic support obligations 5f. $ 0.00 $ NIA
5g. Union dues 5g. $ 0.00 $ N/A
5h. Other deductions. Specify: 5h.t §$ 0.00 + $ N/A
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+t5h. 6. §$ 2,000.00 §$ N/A
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 6,000.00 §$ N/A
List all other income regularly received:

8a. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total

monthly net income. 8a. §$ 0.00 § N/A
8b. Interest and dividends 8b. $ 0.00 $ N/A
8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce

settlement, and property settlement. 8c. § 0.00 $ N/A
8d. Unemployment compensation 8d. $ 0.00 § NIA
8e. Social Security 8e. $ 0.00 $ NIA
8f. | Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies.

Specify: af. = § 0.00 § N/A
8g. Pension or retirement income 8g. $ 0.00 $ NIA
8h. Other monthly income. Specify: 8h.t $ 0.00 + $ N/A
Add all other income. Add lines 8at+8b+8c+8d+8e+8f+8g+8h. 9. |$ 0.00} |5 N/A
Calculate monthly income. Add line 7 + line 9. 10. |$ 6,000.00 | +) $ N/A | =|$ 6,000.00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and

other friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify: 14. +$ 0.00

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.| $ 6,000.00
Combined

O'Leary, Patrick

Entered 10/11/18 20:58:42 Doc1 Pg. 28 of 52

 

 

 

 

Case number (if known)

 
   

 

 

For Debt
_non-filine

    

N/A

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Do you expect an increase or decrease within the year after you file this form?

a
Oo

No.

 

 

 

monthly income

 

Yes. Explain: |

Official Form 1061

Schedule I: Your Income

page 2

 

 
Case 18-06107-LA13 Filed 10/11/18 Entered 10/11/18 20:58:42 Doci1 Pg. 29 of 52

Fill in this information to identify your case:

 

 

 

Debtor 1 Patrick O'Leary Check if this is:
( Anamended filing
Debtor 2 ( Asupplement showing postpetition chapter 13
(Spouse, if filing) expenses as of the following date:
United States Bankruptcy Court for the.) +SOUTHERN DISTRICT OF CALIFORNIA, SAN MM /DD/YYYY

DIEGO DIVISION

 

Case number
(If known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 1215

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

 

Describe Your Household
1. 1s this a joint case?

Hl No. Go to line 2.
0 Yes. Does Debtor 2 live in a separate household?

01 No
C1 Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Householdof Debtor 2.
2. Doyouhave dependents? MH No

Do not list Debtor 1 and Dyes. Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. each dependent.............. Debtor 1 or Debtor 2 ag i

 

 

Do not state the
dependents names.

 

 

 

 

 

3. Do your expenses include MNo
expenses of people other than oO
yourself and your dependents? Yes

Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report

expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule |: Your Income
(Official Form 1061.)

 

4. The rental or home ownership expenses for your residence. Include first mortgage
payments and any rent for the ground or lot. 4. § 2,160.00

 

If not included in fine 4:

 

 

 

 

4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowner's, or renter’s insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 0.00
4d. Homeowner's association or condominium dues 4d. $ 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. §$ 0.00

 

Official Form 106J Schedule J: Your Expenses page 1
Case 18-06107-LA13 Filed 10/11/18 Entered 10/11/18 20:58:42 Doci1_ Pg. 300f 52

Debtor1 O'Leary, Patrick

6.

13.
14.
15.

16.

17.

18.

19.

20.

21.
22.

23.

24.

Official Form 106J

Utilities:
6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection

6d. Other. Specify: Cell Phones

Case number (if known)

 

Food and housekeeping supplies
Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Do not include car payments.

Insurance.

15a. Life insurance

15b. Health insurance

15c. Vehicle insurance

15d. Other insurance. Specify:

 

Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 1

17b. Car payments for Vehicle 2
17c. Other. Specify:

 

17d. Other. Specify:

 

Specify:

 

20a. Mortgages on other property
20b. Real estate taxes

Other: Specify:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Calculate your monthly expenses
22a. Add lines 4 through 21.

Calculate your monthly net income.

 

 

 

 

 

 

 

6a. $ 235.00
6b. $ 110.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 105.00
6d. $ 125.00
7. §$ 650.00
8. $ 0.00
9. $ 0.00
10. $ 0.00
11. $ 0.00
Transportation. Include gas, maintenance, bus or train fare. 12 § 250.00
Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 0.00
Charitable contributions and religious donations 14. $ 0.00
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. $ 0.00
15b. $ 0.00
15c. $ 120.00
15d. $ 0.00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
16. $ 0.00
17a. $ 0.00
17b. $ 0.00
17¢c. $ 0.00
17d. $ 0.00
Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule |, Your Income (Official Form 106i). 18. $ 0.00
Other payments you make to support others who do not live with you. $ 0.00
19.
Other real property expenses not included in lines 4 or 5 of this form or on Schedule |: Your Income.
20a. $ 0.00
20b. $ 0.00
20c. Property, homeowner's, or renter’s insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner’s association or condominium dues 20e. $ 0.00
21. +$ 0.00
$ 3,755.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $
22c. Add line 22a and 22b. The result is your monthly expenses. $ 3,755.00
23a. Copy line 12(your combined monthly income) from Schedule |. 23a. $ 6,000.00
23b. Copy your monthly expenses from line 22c above. 23b. -$ 3,755.00
23¢. r monthly expenses from r monthly income.
6 She eeu your moti nt eames eome 2.|s 2,245.0

 

 

 

Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?

Hi No.

 

O Yes. [ Explain here:

Schedule J: Your Expenses

page 2
 

Case 18-06107-LA13 Filed 10/11/18 Entered 10/11/18 20:58:42 Doc 1 Pg. 31 of 52

mete Uae LG} etd your case:

Debtor 1 Patrick O'Leary

First Name Middie Name Last Name

 

Debtor 2

Spouse #, fing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 

Case number
{i known} (] Check if this is an

amended filing

 

 

 

Official Form 1G6Dec
Declaration About an Individual Debtor's Schedules 42115

 

lf two married people are filing together, botly are equally responsible for supplying correct Information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

mm No

E] Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119}

 

Under penalty of perjury, | declare that 1 have read the summary and schedules filed with this declaration and
that they are true and correct.

 

X is Patrick O'Leary falek PL x

Patrick O'Leary Signature of Debtor 2
Signature of Debtor 4

Date October 9, 2018 Date

 
Case 18-06107-LA13 Filed 10/11/18 Entered 10/11/18 20:58:42 Doci1 Pg. 32 of 52

Fill in this information to identify your case:

Debtor 1 Patrick O'Leary

First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: . SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION

 

Case number
(if known) (1 Check if this is an
amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy AiG

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

1... What is your current marital status?

MH Married
1 Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

HB No

[1 Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1 Prior Address: Dates Debtor 1 lived Debtor 2 Prior Address: Dates Debtor 2
there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

M No
(Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your Income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

M No
O Yes. Fill in the details.

 

Debtor 1 fost tana dan Debtor 2
Sources.of income Gross income Sources of income Gross income
Check ail that apply: (before deductions and Check-all that apply. (before deductions
exclusions) and exclusions)
Official Form 107 Statement of Financial Affairs for Individuais Filing for Bankruptcy page 1

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Case 18-06107-LA13 Filed 10/11/18 Entered 10/11/18 20:58:42 Doci1_ Pg. 33 of 52

Debtor1 O'Leary, Patrick Case number (if known)

 

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony, child support; Social Security, unemployment, and
other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. if
you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

[ No
@ Yes. Fill in the details.

 

Debtor 1 : Debtor 2
Sources. of.income Gross.income from Sources of income Gross income
Describe below. each source Describe below: (before deductions
(before deductions and and exclusions)
. exclusions)

For last calendar year: Employment $96,000.00
(January 1 to December 31, 2017 )
For the calendar year before that: Employment $96,000.00

(January 1 to December 31, 2016 )

 

List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

C1 No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

O No. Go toline 7.

O Yes _List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

M Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

HMeNo.  Gotoline7.

O Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
this bankruptcy case.

Creditor's:.Name and Address Dates of payment Total amount Amount you Was this payment for...
paid still owe

7. Within 4 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners, partnerships of which you are a general partner; corporations of
which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one fora
business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

M No
© Yes. List all payments to an insider.

Insider's Name:and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
Include payments on debts guaranteed or cosigned by an insider.

H No
1 Yes. List all payments to an insider
Insider's Name and.Address Dates of payment Total amount Amount you Reason for this payment
paid still owe include creditor's name
Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 2

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Debtor1 O'Leary, Patrick Case number (if known)

 

Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

M@ No
0 sYes. Fill in the details.
Case title Nature of the.case Court or agency Status of the case

Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

No. Go to line 11.
Yes. Fill in the information below.
Creditor Name and Address Describe the:Property Date Value of the
property
Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

H No
(Yes. Fill in the details.
Creditor Name and Address Describe the-action the creditor took Date action was Amount

taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

HM No
Cl Yes

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
He No

C1 Yes. Fill in the details for each gift.

Gifts with a total value of more than.$600.per Describe the gifts Dates you gave Value
person the gifts

Person-to Whom You Gave the Gift and
Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
HM No

{] Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed Dates you Value
more than. $600 contributed
Charity's Name

Address (Number, Street, City, State and ZIP.Code)
List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

HM No
O Yes. Fill in the details.
Describe the property.you lost and Describe.any insurance coverage forthe loss Date of your Value of property
how the loss occurred 5 wena : loss lost
Include. the amount:that:insurance has ‘paid: List pending
insurance claims.on_ line 33: ofSchedule.A/B: Property.
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

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Debtor1 O'Leary, Patrick Case number (if known)

 

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

O No
HM Yes. Fill in the details.

Person Who Was Paid Description and value of any: property Date payment or Amount of
Address transferred transfer was payment
Email or website address made

Person.Who Made the Payment, if Not You

Allan Cate 0.00 1/22/2018 $1,250.00
888 Prospect St Ste 200

La Jolla, CA 92037-4261

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.
H No
O Yes. Fill in the details.

Person Who Was Paid Description and:value of any property Date payment or Amount of
Address transferred transfer was payment
made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property

transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
gifts and transfers that you have already listed on this statement.

@ No

OsYes. Fill in the details.

Person. Who Received: Transfer Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made

paid in-exchange
Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a

beneficiary? (These are often called asset-protection devices.)

MH No
OsYes. Fill in the details.
Name: of trust Description and value of the property transferred Date Transfer was
made

List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?

Inctude checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

M No
0 syYes. Fill in the details.

Name.of Financial institution.and Last 4 digits.of Type of: account or Date account was Last balance before
Address (Number, Street; City, State and ZIP account number instrument closed, sold, closing or transfer
Code) moved, or

transferred

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 4
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Debtor1 O'Leary, Patrick Case number (if known)

 

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

He No
(Yes. Fill in the details.

Name of Financial.Institution Who else had access to it? Describe the contents Do you still
Address (Number, Street, City, State and ZIP: Cade} Address (Number, Street, City, State have it?

and ZiP: Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

He No
C Yes. Fill in the details.
Name of Storage Facility Who else has or had access Describe the contents Do you still
Address (Number; Street, City, State and ZIP Code) to it? have it?
Address (Number, Street, City, State
and ZIP Code}

Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for

someone.

M No

O Yes. Fill in the details.
Owner's Name Where is the property? Describe the property Value
Address (Number, Street, City; State and ZIP Code} (Number, Street, City,State and ZIP

Code)
i7clamites Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

Hi sEnvironmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or

toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
own, operate, or utilize it, including disposal sites.

@ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.
24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

HM No
C1 Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it
ZIP: Code}

25. Have you notified any governmental unit of any release of hazardous material?

M@ No
O Yes. Fill in the details.
Name of site Governmental. unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP: Code) Address (Number, Street, City; State and know it
ZIP. Code)
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

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Debtor? O'Leary, Patrick Case number 7 snow}

 

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

@o No
[Ci Yes. FH! in the details.
Case Title Court of agency Nature of the case Status of the
Case Number Name case
Address (number, Street, City, State
and ZIP Code}

IEEE, Give Details About Your Business or Connections to Any Business
27. Within 4 years before you fited for bankruptcy, did you.own a business or have any of the following connections to any business?
(3 A sole proprietor or self-employed in a trade, profession, or other activity, either fulltime or part-time
Ci A member of a limited lability company {LLC} or limited liability partnership (LLP)
CO A partner in a partnership
(5 An officer, director, or managing executive of a corporation

zg
Cl An owner of at least 5% of the voting or equity securities of a corporation

{@ No. None of the above applies. Go to Part 12.

[J Yes. Check all that apply above and fill inthe details below for each business.

Business Name Describe the nature of the business Empioyer identification aumber
Address Do not include Social Security number or ITIN.
iNumber, Street, City, State and ZiP Code} Name of accountant or bookkeeper

Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties.

Hl No
Cl Yes. Fill in the detaifs below.

Name Date issued
Address
{Number, Street, City, State and ZIP Code}

Gece Sign Below

i have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury thal the answers are
true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

48 U.S.C. §§ 152, 1344, 1549, and 3671.

 
  

 

is! Patrick O'Lea
Patrick O'Leary Signature of Debtor 2
Signature of Debtor 4
Date October 9, 2018 Date

 

 

Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy {Official Form 107}?
No

Ll Yes

Did you pay or agree to pay someone who is not.an attorney to help you fill out bankruptcy forms?

B no

Cl yes. Name of Person. Altach the Bankruptcy Petition Preparer's Notice. Declaration, and Signature (Official Form 119).

Otkaal Form 107 Statement of Financial Aftairs for individuals Filing for Bankruptcy page 6

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B2030 (Form 2030) (12/15)
United States Bankruptcy Court

Southern District of California, San Diego Division

Inre O'Leary, Patrick Case No.

 

 

Debtor(s) Chapter 13

 

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

 

 

For legal services, I have agreed to accept $ 3,900.00
Prior to the filing of this statement I have received $ 2,190.00
Balance Due $ 1,710.00

 

2. The source of the compensation paid to me was:

B® Debtor C1 Other (specify):

3. The source of compensation to be paid to me is:

@ Debtor C1 Other (specify):

4, lll [have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
firm.

C1 I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;

Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof,

. [Other provisions as needed]

Per RARA

aece

6. By agreement with the debtor(s), the above-disclosed fee does not include the following service:
Per RARA, no adversary matters.

 

CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

 

 

October 9, 2018 Is! Allan Cate

Date Allan Cate
Signature of Attorney
Allan Cate

888 Prospect St Ste 200
La Jolla, CA 92037-4261

allan@acatelaw.com
Name of law firm

 

 

 

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8.1

G48 CiNgraup 1,886.21

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United States Bankraptcy Court
Southern District of California, San Diego Division

 

 

 

IN RE: Case No.
O'Leary, Patrick Chapter 13
Debtor(s} .

VERIFICATION OF CREDITOR MATRIX
PART 1] (check and complete one):

WI New petition filed. Creditor diskette required. TOTAL NO. OF CREDITORS: | _8

_. See Instructions on reverse side.

[_] Conversion filedon

LJ Former Chapter 13 converting. Creditor diskette required. TOTAL NO. OF CREDITORS:
C] Post-petition creditors added. Scannable matrix required.
(_] There are no post-petition creditors. No matrix required.

["] Amendment or Balance of Schedules filed concurrently with this original scannable matrix affecting Schedule of Debts
and/or Schedule of Equity Security Holders. See instructions on reverse side.

[_] Name and addresses are being ADDED.
[_] Name and addresses are being DELETED.
L] Name and addresses are being CORRECTED.

PART iJ (check one}

MI The above-name Debtor(s) hereby verifies that the attached list of creditors is true and correct to the best of my (our)
knowledge.

(_] The above-name Debtor(s) hereby verifies that there are no post-petition creditors affected by the filing of the conversion
of this case and that the filing of a matrix is not required.

Date: October 9, 2078 /s/ Patrick O'Leary |. FH Mes

aon
Debtor #”

 

 

Joint Debtor
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Afni, Inc.
PO Box 3097
Bloomington, IL 61702-3097

Convergent Outsourcing
800 SW 39th St
Renton, WA 98057-4975

EDD
PO Box 826218
Sacramento, CA 94230-6218

Employment Development Dept.
PO Box 120831
San Diego, CA 92112-0831

Franchise Tax Board
Bankrupcty Section MS A340
PO Box 2952

Sacramento, CA 95812-2952

Inphynet Contracting Services
PO Box 1123
Minneapolis, MN 55440-1123

Planet Home Lending, L
321 Research Pkwy Ste 30
Meriden, CT 06450-8301
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Progressive Mgmt Syste
1521 W Cameron Ave Fl 1
West Covina, CA 91790-2738

Torres Credit Srv
27 Fairview St Ste 301
Carlisle, PA 17015-3200
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Fill in this information to identify your case: Check as directed in lines 17 and 21:

According to the calculations required by this
Statement:

Debtor 1 Patrick O'Leary

 

Debtor 2
(Spouse, if filing)

 

L 1. Disposable income is not determined under
11 U.S.C. § 1325(b)(3).

Southern District of California, San
United States Bankruptcy Court for the: Diego Division

Mm 2. Disposable income is determined under 11
U.S.C. § 1325(b)(3).

 

 

Case number

(it known) 1 3. The commitment period is 3 years.

 

  

HM 4. The commitment period is 5 years.

 

 

C Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period 12/15

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).

Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
CJ Not married. Fill out Column A, lines 2-11.

Wi Married. Fill out both Columns A and B, lines 2-11.

 

Filf in the average monthly. income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C.§
401(10A): For exarnple; if you are filing on-September 15, the 6-month period would-be March 1 through August.31. If the amount of your monthly income varied during the
6 months; add'the income for’all 6 months and-divide the total.by 6. Fill in:the result. Do not.include any income amount more than once. For example, if both-spouses
own the game. rental property, put the income from that property in one.column only. lf you have nothing to report for any line, write $0 in the space.

 

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all

 

payroll deductions). 5 8,000.00 ¢ 0.00
3. Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in. $ 0.00 ¢ 0.00

 

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents, and

roommates. Do not include payments from a spouse. Do not include payments you
listed on line 3 $ 0.00 ¢ 0.00

5. Net income from operating a business,
profession, or farm

 

 
 
  

 

Gross receipts (before all deductions) $ 0.00
Ordinary and necessary operating expenses -$ 0.00
Net monthly income from a business, profession, or fi

 

 

0.00 Copy here -> $ 0.00 §$ 0.00
6. Net income from rental and other real property

 

 

 

Gross receipts (before all deductions) $ .
Ordinary and necessary operating expenses -$ 0.00
Net monthly income from rental or other real property = $ 0.00 Copy here > $ 0.00 §$ 0.00
Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 1

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Dettori O'Leary, Patrick Case number (if known)
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
7. Interest, dividends, and royalties $ 0.00 $ 0.00
8. Unemployment compensation $ 0.00 $ 0.00

 

Do not enter the amount if you contend that the amount received was a benefit under the
Social Security Act. Instead, list it here:

For you $ 0.00
For your spouse $ 0.00

 

9. Pension or retirement income. Do not include any amount received that was a benefit
under the Social Security Act. $ 0.00 ¢$ 0.00

40. Income from all other sources not listed above. Specify the source and amount. Do
not include any benefits received under the Social Security Act or payments received as
a victim of a war crime, a crime against humanity, or international or domestic terrorism.
If necessary, list other sources on a separate page and put the total below.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$ 0.00 $ 0.00
$ 0.00 $ 0.00
Total amounts from separate pages, if any. + §$ 0.00 $ 0.00
|
11. Calculate your total average monthly income. Add lines 2 through 10 for
each column. Then add the total for Column A to the total for Column B. $ 8,000.00 {+5 0.00 $ 8,000.00
Total average
monthly income
Determine How to Measure Your Deductions from Income
12. Copy your total average monthly income from line 11. $ 8,000.00

 

13. Calculate the marital adjustment. Check one:
1 You are not married. Fill in 0 below.

[J You are married and your spouse is filing with you. Fill in 0 below.

MH You are married and your spouse is not filing with you.

Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your dependents}
such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.

Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional adjustments on
a separate page.

If this adjustment does not apply, enter 0 below.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$
$
+$
Total $ 0.00 Copy here=> - 0.00
14. Your current monthly income. Subtract line 13 from line 12. $ 8,000.00
15. Calculate your current monthly income for the year. Follow these steps:
15a. Copy line 14 here> ¢__ 8,000.00
Multiply line 15a by 12 (the number of months in a year). x 12
15b. The result is your current monthly income for the year for this part of the form. .......... ec eceeeeeteereneeneeee $ 96,000.00
Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 2

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Deblor 4 O'Le ary, Patrick Gase number (7 known)

 

16. Calculate the median family income that applies to you. Follow these steps:

16a. Fill in the state in which you live. CA
18b. Fill in the aurmber of people in your household. 2
16c. Fill In the median family income for your state and size of household. _ 3 71,636.00

To find a list of applicable median income amounts, go onfine using the ink ‘specified in the separate
instructions for this form. This list may also be available af the bankruptcy clerk's office.

47. How do the lines compare?

17a. ©] Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box Disposabie income is not determined under 11
USC. § 1325(b)3}. Go to Part 3. Do NOT fill out Calculation of Your Disposable income (Official Form 122C-2)

17b. HH Line 15b is more than line 15c. On the top of page 1 of this form, check box Disposable income is determined under 11 U.S.C. §
1325(bN3). Go'to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On tine 39 of that form, copy
your current monthly Income from line 14 above.

Calculate Your Commitment Period Under 11 U.S.C.§ 1325(b}(4)

 

 

18. Copy your total average monthly Income Frome nent nec $8,000.06

79. Deduct the marital adjustment iH it applies. H you are married, your spouse is not filing with you, and you contend
that calculating the commitment period under 11 U.S.C. § 1324(by4) allows you io deduct part of your spouse's
income, copy the amount from line 13.

19a. lf the mazital adjustment does not apply, {ill in 0 on fine 19a. “$ 6.00

 

49b. Subtract line 19a from fine 18. 3 8,006.06

 

 

 

20, Calculate your current monthiy income for the year. Follow these steps:

 

 

 

 

208, COBY HAS I sn so nan s__ 8,000.00
Multiply by 12 (ihe number of months in a year}. x 12°

20b. The result is your current monthly income for the year for this part of the form $ 96,000.00

20c. Copy the median family income for your state and sizeof household from line oe $ 71,636.00

 

 

 

21. How do the lines compare?

[] Line 20b Is less than line 20c. Uniess otherwise ordered by the court, on the top of page 1 of this farm, check box 3, The comunitment period
is 3 years. Ga to Part 4.

# Line 20b is more than or equal to fine 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
commitment period is 5 years. Go to Part 4.

 

 

Sign Below

 

y signing here, under penalty of perjury | deciare that the information on this statement and in any attachments is true and correct.

X is! Patrick ck O'Leary _

Patrick O'Leary
Signature of Debtor 7

Date October 9, 2018
MM/DBD PYYYY

Hf you checked 17a, da NOT fill out or file Form 1220-2.

r

 

 

if you checked 17b, fil out Form 122C-2 and Ale a with this farm. On line 39 of that form, copy your current monthly income from line 14 above.

  

Official Farm 122C-4 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 3

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Fill in this information to identify your case:

Debtor 1 Patrick O'Leary

Debtor 2
(Spouse, if filing)

 

Southern District of California, San
United States Bankruptcy Court for the: Diego Division

 

 

Case number spay .
(if known) C1 Check if this is an amended filing

 

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income 04/16

 

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any additional pages,
write your name and case number (if known).

Pon Calculate Your Deductions from Your Income

The Internal: Revenue Service (IRS) issues National and Local:‘Standards for certain expense amounts. Use these amounts to answer the.the
quéstions in'lines 6-15.:To find the IRS standards, go online-using the link specified in-the separate instructions for this form. This
information may also be available.at.the bankruptcy clerk’s office.

 

Deduct the expense amounts set out in lines.6-15 tegardless of your actual expense: In later parts of the form, you will use some of your actual'expenses.
if they are-higher:than the standards..Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form 122C—1, and.do not
deduct any amounts that you subtracted from your spouse's income in line 13 of Form 122G-1.

If your expenses differ.from month to month, enter the average expense.

Note: Line numbers 1-4 are.not used ‘in this form. These numbers apply to:information required by a similar form used in chapter 7 cases.

5. The number of people used in determining your deductions from income

 

 

 

 

Fill in the number of people who could be claimed as exemptions on your federal income tax return, plus the 2 Livi

number of any additional dependents whom you support. This number may be different from the number of ving

people in your household. 0 Housing
Nationa! Standards You-must use the IRS National Standards to answer the questions in lines 6-7.

6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards,
fill in the dollar amount for food, clothing, and other items. $ 1,132.00

7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
higher than this IRS amount, you may deduct the additional amount on line 22.

 

 

 

Official Form 122C-2 Chapter 13 Calculation of Your Disposable Income page 1
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Debtor 4 O'Leary, Patrick Case number (if known)

 

 

People who are under-65:years of age

7a. Out-of-pocket health care allowance per person $ 49
7b. Number of people who are under 65 x 2
7c. Subtotal. Multiply line 7a by line 7b. $ 98.00 Copy here=>  $ 98.00

People who are 65 years of age or older

 

 

 

7d. Out-of-pocket health care allowance per person $ 117

7e. Number of people who are 65 or older xX 0

7f. Subtotal. Multiply line 7d by line 7e. $ 0.00 Copy here=> $ 0.00

7g. Total. Add line 7c and line 7f $ 98.00 Copy total here=> | $ 98.00

 

 

 

 

 

 

Local Standards’ You-must.use the IRS Local-Standards to answer the questions in lines 8-15.

Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy
purposes into two parts:

@ Housing and utilities - Insurance and operating expenses

Mf Housing and utilities - Mortgage or rent expenses

To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the separate
instructions for this form. This chart may also be available at the bankruptcy clerk's office.
8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill in

the dollar amount listed for your county for insurance and operating expenses. 545.00

9. Housing and utilities - Mortgage or rent expenses:

Qa. Using the number of people you entered in line 5, fill in the dollar amount
listed for your county for mortgage or rent expenses, $ 2,043.00

9b. Total average monthly payment for all mortgages and other debts secured by your home.

To calculate the total average monthly payment, add all amounts that are
contractually due to each secured creditor in the 60 months after you file for
bankruptcy. Next divide by 60.

   
     

Planet Home Lending, L $ ‘7,059.47

 

 

 

 

 

 

Copy Repeat this amount
9b. Total average monthly payment |$ 7,059.47 |here=> = --$ 7,059.47 on line 33a.
9c. Net mortgage or rent expense.
Subtract line 9b ¢ota/ average monthly paymen} from line 9a (mortgage or Copy
rent expense). If this number is less than $0, enter $0. $ 0.00 here=> §$ 0.00

 

 

 

10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and

 

 

 

 

 

affects the calculation of your monthly expenses, fill in any additional amount you claim. $ 0.00
Explain why:
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Debtor1 O'Leary, Patrick Case number (if known)

 

 

11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

HI 0. Goto line 14.
0 1. Go to line 12.

C2 or more. Go to line 12.

12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area. 0.00

13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below. You
may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for more than
two vehicles.

Vehicle 1 Describe Vehicle 1:

 

13a. Ownership or leasing costs using IRS Local Standard.........ccceceeceseeceseseeceeeeeseseseteees $ 0.00

13b. Average monthly payment for all debts secured by Vehicle 1.
Do not include costs for leased vehicles.

To calculate the average monthly payment here and on line 13e, add all amounts that are
contractually due to each secured creditor in the 60 months after you file for bankruptcy.
Then divide by 60.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name.of.each creditor for Vehicle 1 Average monthly
payment
$
Copy Repeat this
Total Average Monthly Payment | $ here => -$ 0.00 jinssay
13c. Net Vehicle 1 ownership or lease expense voPy nt
enicie
Subtract line 13b from line 13a. if the numbert is less than $0, enter $0... expense here
$ 0.00 => $ 0.00
Vehicle 2 Describe Vehicle 2:
13d. Ownership or leasing costs using IRS Local Standard..............cccccsccesessscessceseseeeseees $ 0.00
13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
leased vehicles.
Name of each creditor for Vehicle 2 Average monthly
payment
$
Copy Repeat this _
Total average monthly payment $ here $ 0.00 330toniine
13f. Net Vehicle 2 ownership or lease expense Copy net
Subtract line 13e from line 13d. if this number is less than $0, enter $0. 00.0000. oxponse here
$ 0.00 => $ 0.00
14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
Public Transportation expense allowance regardless of whether you use public transportation. $ 189.00

15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
more than the IRS Local Standard fofPublic Transportation. $ 0.00

 

 

 

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Debtor 1

O'Leary, Patrick Case number (if known)

 

 

 

Other Necessary Expenses

16.

17.

18.

19.

20.

21.

22.

23.

24.

25.

26.

27.

the following IRS-categories.

Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from your
pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and subtract
that number from the total monthly amount that is withheld to pay for taxes.

Do not include real estate, sales, or use taxes.

Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
union dues, and uniform costs.

Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
together, include payments that you make for your spouse's term life insurance.

Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form of
life insurance other than term.

Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
agency, such as spousal or child support payments.

Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

Education: The total monthly amount that you pay for education that is either required:
lM as a condition for your job, or

Wi for your physically or mentally challenged dependent child if no public education is available for similar services.

Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
Do not include payments for any elementary or secondary school education.
Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is

required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
savings account. Include only the amount that is more than the total entered in line 7.

Payments for health insurance or health savings accounts should be listed only in line 25.
Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services for
you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone

service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it
is not reimbursed by your employer.

Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.

Add all of the expenses allowed under the IRS expense allowances.
Add lines 6 through 23.

Additional Expense Deductions These.are additional deductions allowed by the Means Test.

Note: Do not include any expense allowances listed in lines 6-24.

Health insurance, disability insurance, and health savings account expenses. The monthly expenses for heaith

insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your

dependents.
Health insurance $ 0.00

Disability insurance $ 0.00

Health savings account +$ 0.00

 

Total $ 0.00 Copy total here=>

 

 

 

Do you actually spend this total amount?
oO No. How much do you actually spend?

|_| Yes $ oe
Continued contributions to the care of household or family members. The actual monthly expenses that you will
continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your

household or member of your immediate family who is unable to pay for such expenses. These expenses may include
contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

By law, the court must keep the nature of these expenses confidential.

In addition to the-expense deductions listed above, you are allowed your monthly expenses for

+3

2,000.00

0.00

0.00

0.00

0.00

0.00

0.00

0.00

 

 

3,964.00

 

 

0.00

0.00

0.00

 

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Dedtor1 O'Leary, Patrick

claimed is reasonable and necessary.

elementary or secondary school.

Add lines 25 through 31.

Deductions for Debt Payment

Mortgages on your home

Case number (if known)

You must show that the additional amount claimed is reasonable and necessary.

Do not include any amount more than 15% of your gross monthly income.

32. Add all of the additional expense deductions.

 

28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.

If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8,
then fill in the excess amount of home energy costs.

You must give your case trustee documentation of your actual expenses, and you must show that the additional amount

29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
$160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public

You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
reasonable and necessary and not already accounted for in lines 6-23.

* Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.

30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher
than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of
the food and clothing allowances in the IRS National Standards.

To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
this form. This chart may also be available at the bankruptcy clerk's office.

31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).

33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle loans,
and other secured debt, fill in lines 33a through 33e.

To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
the 60 months after you file for bankruptcy. Then divide by 60.

 

 

 

 

 

 

 

 

 

 

 

 

 

0.00

$ 0.00

$ 0.00

$ 0.00
$ 0.00

 

 

 

 

 

 

 

33a. . Copy line 9b here 7,059.47
Loans on your first two vehicles

33b. Copy line 13b here => 0.00
33c. Copyline13ehere => 0.00
33d. List other secured debts
Name of each creditor for other secured.debt Identify property that-secures the debt Does payment

include taxes

or insurance?

Ol No

-NONE- O Yes $

O No

CT Yes $

O No

1 Yes + $

Copy
I
33e. Total average monthly payment. Add lines 33athrough 333d $ 7,059.47 heos> $ 7,059.47
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Debtr1 O'Leary, Patrick Case number (if known)

 

34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or
other property necessary for your support or the support of your dependents?

HNo. Goto line 35.

[1 Yes. State any amount that you must pay to a creditor, in addition to the payments listed in

line 33, to keep possession of your property (called the cure amount. Next, divide by
60 and fill in the information below.

 

 

Name of the creditor Identify property that secures the debt Total cure amount Monthly cure
amount
-NONE- $ =60= $
Copy
total
Total| $ 0.00 |heres> $ 0.00

 

 

 

35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

1 No. Go to line 36.

™@ Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing
priority claims, such as those you listed in line 19.

Total amount of allpast-due priority clams $ 5,928.00 +60 $ 98.80

36. Projected monthly Chapter 13 plan payment $

Current multiplier for your district as stated on the list issued by the Administrative
Office of the United States Courts (for districts in Alabama and North Carolina) or by the
Executive Office for United States Trustees (for all other districts).

To find a list of district multipliers that includes your district, go online using the link specified in the
separate instructions for this form. This list may also be available at the bankruptcy clerk's office.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Copy total
Average monthly administrative expense $ here=> $
37. Add all of the deductions for debt payment. $ 7,158.27
Add lines 33e through 36.
Total Deductions from Income
38. Add all of the aliowed deductions.
Copy line 24, All of the expenses allowed under IRS
expense allowances $ 3,964.00
Copy line 32, Al of the additional expense deductions $ 0.00
Copy line 37, All of the deductions fordebtpayment +$ 7,158.27
Total deductions...........0.ccccccccccccccseeteseseceseeesaceseseesessensees $ 11,122.27 Copy total here=> $ 11,122.27
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Debtor 1 O'Leary, Patrick Case number (if known)

Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

 

 

39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
Statement of Your Current Monthly Income and Calculation of Commitment Period.

$ 8,000.00

 

40. Fill in any reasonably necessary income you receive for support for dependent
children. The monthly average of any child support payments, foster care payments, or
disability payments for a dependent child, reported in Part | of Form 122C-1, that you received
in accordance with applicable nonbankruptcy law to the extent reasonably necessary to be
expended for such child.

41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
employer withheld from wages as contributions for qualified retirement plans, as specified in 11
U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as specified in
11 U.S.C. § 362(b)(19).

42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here => $§
43. Deduction for special circumstances. If special circumstances justify additional expenses
and you have no reasonable alternative, describe the special circumstances and their

expenses. You must give your case trustee a detailed explanation of the special circumstances
and documentation for the expenses.

Describe the special circumstances Amount of expense

 

 

 

 

 

Copy
Total | $ 0.00 here=> $

 

44. Total adjustments. Add lines 40 through 43 => 1$

 

 

11,122.27

 

 

45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.

oe Change in Income or Expenses

46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported
in this form have changed or are virtually certain to change after the date you filed your
bankruptcy petition and during the time your case will be open, fill in the information below. For
example, if the wages reported increased after you filed your petition, check 122C-1 in the first
column, enter line 2 in the second column, explain why the wages increased, fill in when the
increase occurred, and fill in the amount of the increase.

Form Line Reason for change Date of change

1D 1220-1
1 122¢-2
C1 122c-1
1 1220-2
CD 122c-1
( 122¢-2
0 122c-1
[J 1220-2

 

 

 

 

 

Increase or
decrease?
LC increase
C1 Decrease
C1 increase
C1 Decrease
(1 increase
C1 Decrease
CI increase
CJ Decrease

0.00

0.00
11,122.27

0.00

Copy
here=> -$ 11,122.27

 

$ -3,122.27

 

 

 

Amount of change

 

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Debtor 4 O'Leary, Patrick Case number tf Arce}

 

 

Sign Below

By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correci.

   
 

 

X fs! Patrick O'Leary
Patrick O'Leary
Signature of Debtor 1

Dale October 3, 2018
MM SDD PYYYY

 

 

 

  
 

Officia

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